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     Pro Se 15 2016                                                                 Hon. Richard A. Jones


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                           IN THE UNITED STATES DISTRICT COURT FOR THE
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                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8       ABHIJIT BAGAL, an individual,                        Civil Action No. 2:23-cv-00721-RAJ

 9                                Plaintiff,                  Action Filed: May 11, 2023
                      v.
10                                                            Judge: Hon. Richard A. Jones
         KSHAMA SAWANT, in her official
11       and individual capacities as                         PLAINTIFF’S REQUEST FOR
         Councilmember, District 3, of the                    JUDICIAL NOTICE IN SUPPORT
12       Seattle City Council;                                OF OPPOSITION TO
         LISA HERBOLD, in her official and                    DEFENDANTS’ MOTION TO
13       individual capacities as                             DISMISS UNDER FRCP 12(b)(1)
         Councilmember, District 1, of the                    and 12(b)(6)
14       Seattle City Council; and
         BRUCE HARRELL, in his official and                   [Filed Concurrently with
15       individual capacities as the Mayor of                PLAINTIFF’S OPPOSITION TO
         the City of Seattle,                                 DEFENDANTS’ MOTION TO
16                                                            DISMISS UNDER FRCP 12(b)(1)
                                  Defendants.                 and 12(b)(6)]
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              As provided by Federal Rule of Evidence 201 and Federal Rule of Civil Procedure 44.1,
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     and in connection with Plaintiff’s Opposition to Defendants’ Motion to Dismiss under FRCP
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     12(b)(1) and 12(b)(6), Plaintiff Abhijit Bagal, Pro Se, hereby requests that the Court take judicial
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     notice of the following.:
22
          1. Office of Seattle City Clerk - CF 322573 Document and Supporting Research: Equality
23
              Labs, Caste in the United States, (2018) "Upper” Caste Hindus are often vegetarian. See
24

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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 1
     2:23-CV-00721-RAJ                                                      ABHIJIT BAGAL, PLAINTIFF, PRO SE
                Case 2:23-cv-00721-RAJ Document 14 Filed 08/02/23 Page 2 of 5
     Pro Se 15 2016                                                                 Hon. Richard A. Jones


 1            http://clerk.seattle.gov/~cfpics/cf_322573f.pdf A true and correct copy of page 23 of the

 2            above document is attached hereto as Exhibit A with Declaration 5.

 3        2. Judgement on the Pleadings, Sunil Kumar, Ph. D. v. Dr. Jolene Koester, 2:22-cv-07550,

 4            (C.D. Cal. Jul 25, 2023) ECF No. 102. See

 5            https://www.courtlistener.com/docket/65547809/102/sunil-kumar-ph-d-v-dr-jolene-koester/

 6            A true and correct copy of this document is attached hereto as Exhibit B with

 7            Declaration 6.

 8        3. Public hearing announcement on Official Seattle City Councilmember Facebook page of

 9            Defendant Kshama Sawant created by her on May 23, 2023. See

10            https://www.facebook.com/events/971630427348719/ A true and correct copy of this

11            document is attached hereto as Exhibit C with Declaration 7.

12        4. CoHNA (a grassroots advocacy group representing Hindu-Americans) Caste Survey, based

              on a YouGov US national sample of 1,500 responses. See https://cohna.org/new-survey-
13
              analyzes-awareness-of-caste-in-the-us/ A true and correct copy of this document is
14
              attached hereto as Exhibit D with Declaration 8.
15
          5. Seattle City Clerk Documents and Research supporting Council Bill 120511, relating to
16
              caste discrimination. See http://clerk.seattle.gov/search/clerk-files/322573 A true and
17
              correct copy of this document is attached hereto as Exhibit E with Declaration 9.
18
          6. Seattle City Council News Release - Councilmember Sawant Proposes Legislation Against
19
              Caste Discrimination, January 24, 2023. See
20
              https://council.seattle.gov/2023/01/24/councilmember-sawant-and-south-asian-community-
21
              leaders-introduce-first-in-the-nation-legislation-to-ban-caste-discrimination/ A true and
22
              correct copy of this document is attached hereto as Exhibit F with Declaration 10.
23
          7. Councilmember Kshama Sawant’s Joint Announcement with other activist groups. See
24
              https://docs.google.com/forms/d/e/1FAIpQLSffwpnXH_5o0-
25
     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 2
     2:23-CV-00721-RAJ                                                      ABHIJIT BAGAL, PLAINTIFF, PRO SE
                Case 2:23-cv-00721-RAJ Document 14 Filed 08/02/23 Page 3 of 5
     Pro Se 15 2016                                                                 Hon. Richard A. Jones


 1            z90VoNVYnYyMhj3UnICtdsHVUcHZ79APBGEQ/viewform A true and correct copy of

 2            this document is attached hereto as Exhibit G with Declaration 11.

 3        8. Documents and Research Main Page. See http://clerk.seattle.gov/search/clerk-files/322573

 4            The specific email can be accessed from this page and is linked with the text

 5            ‘Councilwoman Kshama Sawant comments about CoHNA.’ See

 6            http://clerk.seattle.gov/~cfpics/cf_322573pp.pdf A true and correct copy of this document

 7            is attached hereto as Exhibit H with Declaration 12.

 8        9. Letter to Rep. Pramila Jayapal dated February 17, 2023. See https://sawant.seattle.gov/my-

 9            letter-to-rep-pramila-jayapal-support-our-fight-to-make-seattle-the-first-city-to-ban-caste-

              discrimination/ A true and correct copy of this document is attached hereto as Exhibit I
10

11            with Declaration 13.

          10. Seattle City Council News Release - Sawant, Community Members Celebrate… See
12
              https://council.seattle.gov/2020/02/04/sawant-community-members-celebrate-passage-of-
13
              city-council-resolution-opposing-religious-persecution-detention-camps-by-right-wing-
14
              regime-in-india/ A true and correct copy of this document is attached hereto as Exhibit J
15
              with Declaration 14.
16
          11. Stigmatic Harm and Standing. See
17
              https://papers.ssrn.com/sol3/papers.cfm?abstract_id=895194 A true and correct copy of
18
              this document is attached hereto as Exhibit K with Declaration 15.
19
          12. Public FAQ On Councilmember Kshama Sawant’s Official Letterhead threatening Hindu-
20
              Americans. See
21
              https://docs.google.com/document/d/1exszRVrkKogZQGW_croebiWthsCTDMXUupP9lt_
22
              Xpog/edit A true and correct copy of this document is attached hereto as Exhibit L with
23
              Declaration 16.
24

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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 3
     2:23-CV-00721-RAJ                                                      ABHIJIT BAGAL, PLAINTIFF, PRO SE
                Case 2:23-cv-00721-RAJ Document 14 Filed 08/02/23 Page 4 of 5
     Pro Se 15 2016                                                                 Hon. Richard A. Jones


 1        13. Seattle’s Definition of Caste, copied from Merriam-Webster dictionary – Definition (3) of

 2            Caste. See https://www.seattle.gov/civilrights/civil-rights-enforcement/new-laws-and-

 3            amendments/caste A true and correct copy of this document is attached hereto as Exhibit

 4            M with Declaration 17.

 5        14. Memorandum to Seattle City Council from Asha Venkataraman, Analyst/Central Staff dated

 6            February 16, 2023, providing background information on protected classes and caste as

 7            defined by the Merriam-Webster dictionary. See

              http://seattle.legistar.com/View.ashx?M=F&ID=11651954&GUID=8BB5B94B-EB71-
 8
              40C1-B5CF-D0A8D75D8877 A true and correct copy of this document is attached hereto
 9
              as Exhibit N with Declaration 18.
10
          15. Merriam Webster Dictionary’s Primary/First definition of caste includes: (1) “one of the
11
              hereditary social classes in Hinduism that restrict the occupation of their members and their
12
              association with members of other castes”; and Secondary: (2) “a division of society based
13
              on differences of wealth, inherited rank or privilege, profession, occupation, or race”; and
14
              (3) “system of stratification characterized by hereditary status, endogamy, and social
15
              barriers sanctioned by custom, law, or religion.” See https://www.merriam-
16
              webster.com/dictionary/caste A true and correct copy of this document is attached hereto
17
              as Exhibit O with Declaration 19.
18
          16. Ministry of Social Justice & Empowerment, Government of India, State wise List of
19
              Scheduled Castes. See https://socialjustice.gov.in/common/76750 A true and correct copy
20
              of this document is attached hereto as Exhibit P with Declaration 20.
21
          17. India’s Caste System manifests in Seattle… South Asian caste system … is a hierarchical
22
              system dating back thousands of years… originated from Hinduism in India… See
23
              http://clerk.seattle.gov/~cfpics/cf_322573nn.pdf A true and correct copy of this document
24
              is attached hereto as Exhibit Q with Declaration 21.
25
     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 4
     2:23-CV-00721-RAJ                                                      ABHIJIT BAGAL, PLAINTIFF, PRO SE
                Case 2:23-cv-00721-RAJ Document 14 Filed 08/02/23 Page 5 of 5
     Pro Se 15 2016                                                                 Hon. Richard A. Jones


 1        18. Hostility towards Hindu-Americans while praising and giving preferential treatment to

 2            Muslim-Americans. See https://mailchi.mp/seattle/have-you-experienced-caste-

 3            discrimination-or-islamophobia?e=[UNIQID] Prior Posts dated May 23, 2023, and June 25,

 4            2023, demonstrating conspiracy to use caste to target Hindu Americans. See

 5            https://us19.campaign-

              archive.com/home/?u=bd9c3de67c9c8780c16467332&id=eb2c34586e A true and correct
 6

 7            copy of this document is attached hereto as Exhibit R with Declaration 22.

 8
          Plaintiff respectfully requests this Court to grant judicial notice of the items identifies above.
 9
     DATED this 2nd day of August 2023 at Morrisville, Wake County, North Carolina.
10
     Signature:                               /s/ Abhijit Bagal
11
     Printed Name:                            ABHIJIT BAGAL (Plaintiff, Pro Se)
12   Address:                                 125 Vista Brooke Drive, Morrisville, NC 27560
13   Phone: (919) 917-3839                    Email: abebagal@gmail.com

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     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDATS’ MTD - 5
     2:23-CV-00721-RAJ                                                      ABHIJIT BAGAL, PLAINTIFF, PRO SE
